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IN THE STATE COURT OF DEKALB COUNTY c > A
STATE OF GEORGIA 22 ls
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TONY WARBINGTON and a a m=
CLARA WARBINGTON. ei =
TO
Plaintiffs, CIVIL ACTION f3o™
VS. FILE NO,
WAL-MART STORES, INC., SECOND ORIGINAL
Defendant.
COMPLAINT

COME NOW, TONY WARBINGTON and CLARA WARBINGTON, Plaintiffs in the
above-styled civil action, and file this Complaint showing this Honorable Court as follows:
L
JURISDICTION AND VENUE
1.
Plaintiffs are residents of Chamblee, DeKalb County, Georgia.
2.

Wal-Mart Stores, Inc. (“Wal-Mart”) is a Delaware corporation doing business in the State of
Georgia at various locations, including, but not limited to the store located at 4725 Ashford-
Dunwoody Road, Atlanta, Georgia 30338. This Defendant may be served by delivering a copy of the
Summons and Complaint to Corporation Process Company located at 2180 Satellite Boulevard, Suite
400, Duluth, Gwinnett County, Georgia 30097, Once served, this Defendant shall be subject to the
jurisdiction of this Court.

3.
Once served, venue shall be proper as to this Defendant,

EXHIBIT

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FACTS
4,

On or about March 27, 2010, Plaintiffs entered the Wal-Mart store located at 4725 Ashford-

Dunwoody Road, Atlanta, Georgia 30338 for the purpose of shopping.
5.

After shopping for approximately 45 minutes, Plaintiff Tony Warbington was walking down an

aisle when he slipped and fell on a wet area on the floor.
6.

At no time were there any “wet floor” signs or other indicators in place to alert Plaintiff(s) to
the wet surface.

7.

While falling, Plaintiff Tony Warbington grabbed a shopping cart and a shelf to prevent
himself from falling completely to the floor. Despite this effort, however, Plaintiff Tony Warbington
suffered injury.

8.

A Wal-Mart employee arrived on the scene soon thereafter and prepared an incident report.
9,

Upon leaving the Wal-Mart store, Plaintiff was taken to the emergency room at Northside

Hospital.

 
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Ill.
COUNT I - NEGLIGENCE
10.

Plaintiffs reallege and incorporate by reference Paragraphs | through 9 as if fully set forth
herein.

11.

At all relevant times, while Plaintiff Tony Warbington was located in Wal-Mart, he exercised
ordinary care for his own safety.

| 12.
At all relevant times, Defendant Wal-Mart, its agents, servants, and/or employees had actual
knowledge and/or constructive knowledge of the wet floor prior to Plaintiff Tony Warbington’s fall.
13.
At all relevant times, Defendant has a duty to keep its premises safe and in good condition.
14,

At all relevant times, Defendant and its agents, servants, and/or employees were negligent in
that they failed to warn Plaintiff Tony Warbington of the hazardous condition that existed on its
premises.

15.

At all relevant times, despite actual knowledge and/or constructive knowledge, Defendant
failed to make its premises safe.

16.

Any arid all injuries to Plaintiff were proximately caused by the negligence of Defendant and

its agents, servants, and/or employees.

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17.

As a direct and proximate cause of Defendant’s negligence, Plaintiff Tony Warbington
received severe injuries to his body and mind. Plaintiff has suffered and continues to suffer both
physical and mental pain and suffering.

18.

As a direct and proximate cause of Defendant’s negligence, Plaintiffs have incurred medical

expenses to date, and will continue to incur medical expenses in the future.
19,

As a direct and proximate cause of Defendant’s negligence, Plaintiff has presently incurred
medical bills in excess of $50,000.

20.

As a direct and proximate cause of Defendant’s negligence, Plaintiff Tony Warbington has not
been able to work and has incurred lost wages and wil] continue to incur lost wages and loss of earning
capacity into the future.

COUNT Il- LOST OF CONSORTIUM
21.

Plaintiffs reallege and incorporate by reference Paragraphs 1 through 20 as if fully set forth

herein.
22.
At all relevant times, Plaintiff Clara Warbington was the lawful spouse of Plaintiff Tony

Warbington.

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23.

As a proximate result of the above-described personal injury suffered by Plaintiff Tony

Warbington, Plaintiff Clara Warbington sustained a loss of consortium of her spouse including, but not

‘limited to, his unimpaired aid, assistance, affection, comfort, society, companionship, company, love

and other conjugal fellowship and will likely continue to sustain such loss in the future.

WHEREFORE, Plaintiffs pray this Court grant judgment against Defendant as follows:

(a)
(b)
(c)
(d)
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(h)
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For compensatory damages;

For physical pain and mental anguish in the past and in the future;

For physical impairment in the past and in the future;

For medical expenses in the past and in the future;

For loss of past wages, future wages and loss of future earning capacity;
For loss of consortium;

For attorney’s fees and costs of litigation;

For a jury trial; and

Plaintiffs be granted such other and future relief at this Court deems appropriate.

Respectfully submitted this Wn day of May, 20111.

THE LAW OFFICES OF EARNEST REDWINE, JR., LLC

py: Carmen |

Earnest Redwine, Jr.
Georgia Bar No. 597610

 

730 Peachtree St., Suite 560
Atlanta, Georgia 30308
Telephone: (404) 870-0010

Attorney for Plaintiff

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Civil Action No._ ft A 3b ¥ 34-4 Magistrate Court 0
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Date Filed . State Court Oo

 

Georgia, GWINNETT COUNTY

Tony War bins han, C bore Wacbenster

 

 

Attorney's Address .
(Farah Re Sun oe J LL Plaintiff
Law gft ces if Peent Be laycres feyr VS.

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Aig cA Jury
Name and Address of party to be Served

 

- 4, “Defendant

 

 

 

 

 

 

 

 

 

 

 

 

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SHERIFF'S ENTRY OF SERVICE

1 have this day served the defendant personally with a copy
of the within action and summons.
1 have this day served the defendant by leaving
a copy of the action and summons at his most notorious place of abode in this County.

O Delivered same Into hands of described as follows
age, about years; weight, about pounds, height, about feet and inches, domiciled at

the residence of defendant.

 

by ieaving a copy of the within action and summons with ( ! A a tt [ Nua ke vo { ttf }

NF

XK Served the defendant LAA MG ¥ fF Sto v e S-I nc a corporation
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in charge of the office and place of doing business of said Corporation in this County

 

| have this day served the above styled affidavit and summons on the defendant(s) by posting a copy of the same to the door
of the premises designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the

Oo United States Mail, First Class in an envelope properly addressed to the defendant(s) at the address shown in said summons,
with adequate postage affixed thereon containing notice to the defendant(s) to answer said summons at the piace stated in the
summons.

 

Diligent search made and defendant
not to be found in the jurisdiction of this Court.

 

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This /(o day of JV... 20 {7 f Ji, .
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SHERIFF DOCKET PAGE.

2 GWINNETT COUNTY, GEORGIA
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White: Clerk CANARY: Plaintiff Attorney PINK: Defendant .

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Deputy Clark . 7) Tony Wiebagfon Clary Wor bing be

epasit Paid $ Al / . - Ch Eseust Ridoina, de, 4 Lie OfFecs) ef Bmgk Redwine dee, LLC

70 Packhre he Plaintiff's name and address)
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} ANSWER | Aston, fh 34307" vs.
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Co-perstier Proce? Com pny
SECOND OFS: yD ORY: Alte Setfttits Sa Feet: te Blvd. Suste Yoo, Dyth Gh 20097
econ . (Defendant's name and adress)

TO THE ABOVE-NAMED DEFENDANT:

You are hereby summoned and required to file with the Clerk of State Court, Suite 230, 2”! Floor, Administrative Tower,
DeKalb County Courthouse, 556 N. McDonough Street, Decatur, Georgia 30030 and serve upon the plaintiffs attorney, to
wit:

; Fern esk Redinn dey baw oth-ces of Pecnesh Reduriocy d,
| U RY 720 Pucktre St. f $arF Ye 6 pA thats | th Sor
t- AtheR, (y 1070 ~s anaes) 66761

(Phone Number) (Georgia Bar No.)

 

 

 

L ANSWER to the complaint which is herewith served upon you, within: thirty (30) days after servica upon you, exclusive of the day
service, If you fail to de so, judgment by default will be taken against you for the relief demanded in the complaint. (Plus cost of
$ action.)

 

 

 

 

 

 

 

 

 

 

‘fendant’s Altorney Third-Party Attorney

dress Address

one No. Seorgia Bar No. Phone No. Seorgia Bar No.
TYPE OF SUIT

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‘Attach GLUE to Original and WHITE to Service Copy of complaint)

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